                                                                                Case 12-21419-reb        Doc 4 Filed 04/13/12 Entered 04/13/12 13:33:18 Desc Main
                                                                     B3B (Official Form 3B) (11/11)
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                                                                                               APPLICATION FOR WAIVER OF THE CHAPTER 7 FILING FEE
                                                                                                 FOR INDIVIDUALS WHO CANNOT PAY THE FILING FEE
                                                                                                           IN FULL OR IN INSTALLMENTS

                                                                     The court fee for filing a case under chapter 7 of the Bankruptcy Code is $306.

                                                                     If you cannot afford to pay the full fee at the time of filing, you may apply to pay the fee in installments. A form,
                                                                     which is available from the bankruptcy clerk’s office, must be completed to make that application. If your
                                                                     application to pay in installments is approved, you will be permitted to file your petition, generally completing
                                                                     payment of the fee over the course of four to six months.

                                                                     If you cannot afford to pay the fee either in full at the time of filing or in installments, you may request a waiver
                                                                     of the filing fee by completing this application and filing it with the Clerk of Court. A judge will decide whether
                                                                     you have to pay the fee. By law, the judge may waive the fee only if your income is less than 150 percent of the
                                                                     official poverty line applicable to your family size and you are unable to pay the fee in installments. You may obtain
                                                                     information about the poverty guidelines at www.uscourts.gov or in the bankruptcy clerk’s office.

                                                                     Required information. Complete all items in the application, and attach requested schedules. Then sign the
                                                                     application on the last page. If you and your spouse are filing a joint bankruptcy petition, you both must provide
                                                                     information as requested and sign the application.
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                                                                                                                        United States Bankruptcy Court
                                                                                                                         Northern District of Georgia

                                                                     IN RE:                                                                                               Case No.
                                                                     Johnson, Bradley Leif                                                                                Chapter 7
                                                                                                                 Debtor(s)

                                                                                          APPLICATION FOR WAIVER OF THE CHAPTER 7 FILING FEE
                                                                               FOR INDIVIDUALS WHO CANNOT PAY THE FILING FEE IN FULL OR IN INSTALLMENTS
                                                                     Part A. Family Size and Income

                                                                     1. Including yourself, your spouse, and dependents you have listed or will list on Schedule I (Current Income of Individual Debtor(s)),
                                                                        how many people are in your family? (Do not include your spouse if you are separated AND are not filing a joint petition.)
                                                                                                                                                                                                          1

                                                                     2. Restate the following information that you provided, or will provide, on Line 16 of Schedule I. Attach a completed copy of Schedule
                                                                        I, if it is available.
                                                                             Total Combined Monthly Income (Line 16 of Schedule I):                                                         $         1287

                                                                     3. State the monthly net income, if any, of dependents included in Question 1 above. Do not include any income already reported in Item
                                                                        2. If none, enter $0.
                                                                                                                                                                                           $            0.00
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                                                                     4. Add the “Total Combined Monthly Income” reported in Question 2 to your dependents’ monthly net income from Question 3.

                                                                                                                                                                                           $       1,287.00

                                                                     5. Do you expect the amount in Question 4 to increase or decrease by more than 10% during the next 6 months? Yes           No   ü
                                                                        If yes, explain.




                                                                     Part B. Monthly Expenses

                                                                     6. EITHER (a) attach a completed copy of Schedule J (Schedule of Monthly Expenses), and state your total monthly expenses reported
                                                                        on Line 18 of that Schedule, OR (b) if you have not yet completed Schedule J, provide an estimate of your total monthly expenses.

                                                                                                                                                                                           $         645.00

                                                                     7. Do you expect the amount in Question 6 to increase or decrease by more than 10% during the next 6 months? Yes       ü No
                                                                        If yes, explain.
                                                                         Beginning May, 2012 payment to Sallie Mae will begin again at $650.00 per month (payments had been deferred)



                                                                     Part C. Real and Personal Property

                                                                     EITHER (1) attach completed copies of Schedules A (Real Property) and Schedule B (Personal Property), OR (2) if you have not yet
                                                                     completed those schedules, answer the following questions.

                                                                     8. State the amount of cash you have on hand:                                                                         $

                                                                     9. State below any money you have in savings, checking, or other accounts in a bank or other financial institution.
                                                                         Bank or Other Financial Institution:                        Type of Account such as savings, checking, CD:                  Amount:

                                                                                                                                                                                           $
                                                                                                                                                                                           $
                                                                                                                                                                                           $
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                                                                     B3B (Official Form 3B) (11/11) - Cont.
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                                                                     10. State below the assets owned by you. Do not list ordinary household furnishings and clothing.

                                                                                                     Address:
                                                                           Home                                                                    Value: $
                                                                                                                                                   Amount owed on mortgages and liens: $


                                                                                                    Address:

                                                                           Other real estate                                                       Value: $
                                                                                                                                                   Amount owed on mortgages and liens: $


                                                                           Motor vehicle            Model/Year:                                    Value: $
                                                                                                                                                   Amount Owed: $


                                                                           Motor vehicle            Model/Year:                                    Value: $
                                                                                                                                                   Amount Owed: $


                                                                           Other                    Description:                                   Value: $
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                                                                                                                                                   Amount Owed: $

                                                                     11. State below any person, business, organization, or governmental unit that owes you money and the amount that is owed.
                                                                           Name of Person, Business, or Organization that Owes You Money                                Amount Owed

                                                                                                                                                                    $
                                                                                                                                                                    $
                                                                                                                                                                    $

                                                                     Part D. Additional Information

                                                                     12. Have you paid an attorney any money for services in connection with this case, including the completion of this form, the bankruptcy
                                                                         petition, or schedules? Yes ü No
                                                                         If yes, how much have you paid? $         750.00

                                                                     13. Have you promised to pay or do you anticipate paying an attorney in connection with your bankruptcy case? Yes        ü No
                                                                         If yes, how much have you promised to pay or do you anticipate paying? $        750.00

                                                                     14. Have you paid anyone other than an attorney (such as a bankruptcy petition preparer, paralegal, typing service, or another person)
                                                                         any money for services in connection with this case, including the completion of this form, the bankruptcy petition, or schedules?
                                                                         Yes        No ü
                                                                         If yes, how much have you paid? $

                                                                     15. Have you promised to pay or do you anticipate paying anyone other than an attorney (such as a bankruptcy petition preparer,
                                                                         paralegal, typing service, or another person) any money for services in connection with this case, including the completion of this
                                                                         form, the bankruptcy petition, or schedules? Yes      No ü
                                                                         If yes, how much have you promised to pay or do you anticipate paying? $

                                                                     16. Has anyone paid an attorney or other person or service in connection with this case, on your behalf? Yes        No   ü
                                                                         If yes, explain.
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                                                                     17. Have you previously filed for bankruptcy relief during the past eight years? Yes                    No     ü
                                                                           Case Number (if known)            Year filed        Location of filing                      Did you obtain a discharge? (if known)

                                                                                                                                                                       Yes          No         Don’t know
                                                                                                                                                                       Yes          No         Don’t know
                                                                                                                                                                       Yes          No         Don’t know

                                                                     18. Please provide any other information that helps to explain why you are unable to pay the filing fee in installments.




                                                                     19. I (we) declare under penalty of perjury that I (we) cannot currently afford to pay the filing fee in full or in installments and that the
                                                                         foregoing information is true and correct.
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                                                                     Executed on:            April 13, 2012                       /s/ Bradley Johnson
                                                                                                           Date                                                  Signature of Debtor




                                                                                                           Date                                                 Signature of Codebtor


                                                                               DECLARATION AND SIGNATURE OF NON-ATTORNEY BANKRUPTCY PETITION PREPARER (See 11 U.S.C. § 110)

                                                                     I declare under penalty of perjury that: (1) I am a bankruptcy petition preparer as defined in 11 U.S.C. § 110; (2) I prepared this document for
                                                                     compensation and have provided the debtor with a copy of this document and the notices and information required under 11 U.S.C. §§ 110(b), 110(h),
                                                                     and 342 (b); and (3) if rules or guidelines have been promulgated pursuant to 11 U.S.C. § 110(h) setting a maximum fee for services chargeable by
                                                                     bankruptcy petition preparers, I have given the debtor notice of the maximum amount before preparing any document for filing for a debtor or accepting
                                                                     any fee from the debtor, as required under that section.

                                                                     Printed or Typed Name and Title, if any, of Bankruptcy Petition Preparer                                Social Security No. (Required by 11 U.S.C. § 110.)
                                                                     If the bankruptcy petition preparer is not an individual, state the name, title (if any), address, and social security number of the officer, principal,
                                                                     responsible person, or partner who signs the document.


                                                                     Address




                                                                     Signature of Bankruptcy Petition Preparer                                                               Date

                                                                     Names and Social Security numbers of all other individuals who prepared or assisted in preparing this document, unless the bankruptcy petition preparer
                                                                     is not an individual:


                                                                     If more than one person prepared this document, attach additional signed sheets conforming to the appropriate Official Form for each person.
                                                                     A bankruptcy petition preparer's failure to comply with the provision of title 11 and the Federal Rules of Bankruptcy Procedure may result in fines or
                                                                     imprisonment or both. 11 U.S.C. § 110; 18 U.S.C. § 156.
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                                                                     IN RE Johnson, Bradley Leif                                                                                             Case No.
                                                                                                                                Debtor(s)                                                                                                    (If known)

                                                                                                                                SCHEDULE A - REAL PROPERTY
                                                                        Except as directed below, list all real property in which the debtor has any legal, equitable, or future interest, including all property owned as a cotenant, community
                                                                     property, or in which the debtor has a life estate. Include any property in which the debtor holds rights and powers exercisable for the debtor’s own benefit. If the debtor is
                                                                     married, state whether the husband, wife, both, or the marital community own the property by placing an “H,” “W,” “J,” or “C” in the column labeled “Husband, Wife, Joint,
                                                                     or Community.” If the debtor holds no interest in real property, write “None” under “Description and Location of Property.”

                                                                       Do not include interests in executory contracts and unexpired leases on this schedule. List them in Schedule G - Executory Contracts and Unexpired Leases.

                                                                        If an entity claims to have a lien or hold a secured interest in any property, state the amount of the secured claim. See Schedule D. If no entity claims to hold a secured
                                                                     interest in the property, write “None” in the column labeled “Amount of Secured Claim.”

                                                                       If the debtor is an individual or if a joint petition is filed, state the amount of any exemption claimed in the property only in Schedule C - Property Claimed as Exempt.




                                                                                                                                                                                             HUSBAND, WIFE, JOINT,
                                                                                                                                                                                                OR COMMUNITY
                                                                                                                                                                                                                       CURRENT VALUE OF
                                                                                                                                                                                                                      DEBTOR'S INTEREST IN
                                                                                                                                                                   NATURE OF DEBTOR'S                                  PROPERTY WITHOUT        AMOUNT OF SECURED
                                                                                             DESCRIPTION AND LOCATION OF PROPERTY
                                                                                                                                                                  INTEREST IN PROPERTY                                   DEDUCTING ANY              CLAIM
                                                                                                                                                                                                                       SECURED CLAIM OR
                                                                                                                                                                                                                           EXEMPTION



                                                                     None
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                                                                                                                                                                                      TOTAL                                          0.00
                                                                                                                                                                                                                     (Report also on Summary of Schedules)
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                                                                     IN RE Johnson, Bradley Leif                                                                                            Case No.
                                                                                                                                Debtor(s)                                                                                             (If known)

                                                                                                                           SCHEDULE B - PERSONAL PROPERTY
                                                                        Except as directed below, list all personal property of the debtor of whatever kind. If the debtor has no property in one or more of the categories, place an “x” in the
                                                                     appropriate position in the column labeled “None.” If additional space is needed in any category, attach a separate sheet properly identified with the case name, case number,
                                                                     and the number of the category. If the debtor is married, state whether the husband, wife, both, or the marital community own the property by placing an “H,” “W,” “J,” or
                                                                     “C” in the column labeled “Husband, Wife, Joint, or Community.” If the debtor is an individual or a joint petition is filed, state the amount of any exemptions claimed only
                                                                     in Schedule C - Property Claimed as Exempt.

                                                                       Do not list interests in executory contracts and unexpired leases on this schedule. List them in Schedule G - Executory Contracts and Unexpired Leases.

                                                                       If the property is being held for the debtor by someone else, state that person’s name and address under “Description and Location of Property.” If the property is being
                                                                     held for a minor child, simply state the child's initials and the name and address of the child's parent or guardian, such as "A.B., a minor child, by John Doe, guardian." Do
                                                                     not disclose the child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m).




                                                                                                                                                                                                                     HUSBAND, WIFE, JOINT,
                                                                                                                                                                                                                        OR COMMUNITY
                                                                                                                                                                                                                                              CURRENT VALUE OF
                                                                                                                       N                                                                                                                     DEBTOR'S INTEREST IN
                                                                                                                       O                                                                                                                      PROPERTY WITHOUT
                                                                                    TYPE OF PROPERTY                                               DESCRIPTION AND LOCATION OF PROPERTY
                                                                                                                       N                                                                                                                        DEDUCTING ANY
                                                                                                                       E                                                                                                                      SECURED CLAIM OR
                                                                                                                                                                                                                                                  EXEMPTION




                                                                        1. Cash on hand.                               X
                                                                        2. Checking, savings or other financial            Checking Acct: Bank of America                                                                                                100.00
                                                                           accounts, certificates of deposit or
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                                                                           shares in banks, savings and loan,
                                                                           thrift, building and loan, and
                                                                           homestead associations, or credit
                                                                           unions, brokerage houses, or
                                                                           cooperatives.
                                                                        3. Security deposits with public utilities,    X
                                                                           telephone companies, landlords, and
                                                                           others.
                                                                        4. Household goods and furnishings,                Computer                                                                                                                      200.00
                                                                           include audio, video, and computer              Radio                                                                                                                           50.00
                                                                           equipment.
                                                                                                                           Television                                                                                                                    100.00
                                                                        5. Books, pictures and other art objects,      X
                                                                           antiques, stamp, coin, record, tape,
                                                                           compact disc, and other collections or
                                                                           collectibles.
                                                                        6. Wearing apparel.                                Clothing                                                                                                                      200.00
                                                                        7. Furs and jewelry.                               Jewelry                                                                                                                       150.00
                                                                        8. Firearms and sports, photographic,          X
                                                                           and other hobby equipment.
                                                                        9. Interest in insurance policies. Name        X
                                                                           insurance company of each policy and
                                                                           itemize surrender or refund value of
                                                                           each.
                                                                      10. Annuities. Itemize and name each             X
                                                                          issue.
                                                                      11. Interests in an education IRA as             X
                                                                          defined in 26 U.S.C. § 530(b)(1) or
                                                                          under a qualified State tuition plan as
                                                                          defined in 26 U.S.C. § 529(b)(1).
                                                                          Give particulars. (File separately the
                                                                          record(s) of any such interest(s). 11
                                                                          U.S.C. § 521(c).)
                                                                      12. Interests in IRA, ERISA, Keogh, or           X
                                                                          other pension or profit sharing plans.
                                                                          Give particulars.
                                                                      13. Stock and interests in incorporated          X
                                                                          and unincorporated businesses.
                                                                          Itemize.
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                                                                     IN RE Johnson, Bradley Leif                                                                                Case No.
                                                                                                                            Debtor(s)                                                                       (If known)

                                                                                                                         SCHEDULE B - PERSONAL PROPERTY
                                                                                                                                (Continuation Sheet)




                                                                                                                                                                                           HUSBAND, WIFE, JOINT,
                                                                                                                                                                                              OR COMMUNITY
                                                                                                                                                                                                                    CURRENT VALUE OF
                                                                                                                     N                                                                                             DEBTOR'S INTEREST IN
                                                                                                                     O                                                                                              PROPERTY WITHOUT
                                                                                   TYPE OF PROPERTY                                      DESCRIPTION AND LOCATION OF PROPERTY
                                                                                                                     N                                                                                                DEDUCTING ANY
                                                                                                                     E                                                                                              SECURED CLAIM OR
                                                                                                                                                                                                                        EXEMPTION




                                                                      14. Interests in partnerships or joint         X
                                                                          ventures. Itemize.
                                                                      15. Government and corporate bonds and         X
                                                                          other negotiable and non-negotiable
                                                                          instruments.
                                                                      16. Accounts receivable.                       X
                                                                      17. Alimony, maintenance, support, and         X
                                                                          property settlements in which the
                                                                          debtor is or may be entitled. Give
                                                                          particulars.
                                                                      18. Other liquidated debts owed to debtor      X
                                                                          including tax refunds. Give
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                                                                          particulars.
                                                                      19. Equitable or future interest, life         X
                                                                          estates, and rights or powers
                                                                          exercisable for the benefit of the
                                                                          debtor other than those listed in
                                                                          Schedule A - Real Property.
                                                                      20. Contingent and noncontingent               X
                                                                          interests in estate of a decedent, death
                                                                          benefit plan, life insurance policy, or
                                                                          trust.
                                                                      21. Other contingent and unliquidated          X
                                                                          claims of every nature, including tax
                                                                          refunds, counterclaims of the debtor,
                                                                          and rights to setoff claims. Give
                                                                          estimated value of each.
                                                                      22. Patents, copyrights, and other             X
                                                                          intellectual property. Give particulars.
                                                                      23. Licenses, franchises, and other            X
                                                                          general intangibles. Give particulars.
                                                                      24. Customer lists or other compilations       X
                                                                          containing personally identifiable
                                                                          information (as defined in 11 U.S.C. §
                                                                          101(41A)) provided to the debtor by
                                                                          individuals in connection with
                                                                          obtaining a product or service from
                                                                          the debtor primarily for personal,
                                                                          family, or household purposes.
                                                                      25. Automobiles, trucks, trailers, and             Vehicle: 2002 Toyota Camry with 149,000 miles                                                       4,640.00
                                                                          other vehicles and accessories.
                                                                      26. Boats, motors, and accessories.            X
                                                                      27. Aircraft and accessories.                  X
                                                                      28. Office equipment, furnishings, and         X
                                                                          supplies.
                                                                      29. Machinery, fixtures, equipment, and        X
                                                                          supplies used in business.
                                                                      30. Inventory.                                 X
                                                                      31. Animals.                                   X
                                                                      32. Crops - growing or harvested. Give         X
                                                                          particulars.
                                                                      33. Farming equipment and implements.          X
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                                                                     IN RE Johnson, Bradley Leif                                                                         Case No.
                                                                                                                      Debtor(s)                                                                                (If known)

                                                                                                                    SCHEDULE B - PERSONAL PROPERTY
                                                                                                                           (Continuation Sheet)




                                                                                                                                                                                              HUSBAND, WIFE, JOINT,
                                                                                                                                                                                                 OR COMMUNITY
                                                                                                                                                                                                                       CURRENT VALUE OF
                                                                                                                N                                                                                                     DEBTOR'S INTEREST IN
                                                                                                                O                                                                                                      PROPERTY WITHOUT
                                                                                  TYPE OF PROPERTY                                DESCRIPTION AND LOCATION OF PROPERTY
                                                                                                                N                                                                                                        DEDUCTING ANY
                                                                                                                E                                                                                                      SECURED CLAIM OR
                                                                                                                                                                                                                           EXEMPTION




                                                                      34. Farm supplies, chemicals, and feed.   X
                                                                      35. Other personal property of any kind   X
                                                                          not already listed. Itemize.
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                                                                                                                                                                                        TOTAL                                   5,440.00
                                                                                                                                                                   (Include amounts from any continuation sheets attached.
                                                                              0 continuation sheets attached                                                                  Report total also on Summary of Schedules.)
                                                                                 Case 12-21419-reb
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                                                                     IN RE Johnson, Bradley Leif                                                                                          Case No.
                                                                                                                               Debtor(s)                                                                                     (If known)

                                                                                                      SCHEDULE I - CURRENT INCOME OF INDIVIDUAL DEBTOR(S)
                                                                     The column labeled “Spouse” must be completed in all cases filed by joint debtors and by every married debtor, whether or not a joint petition is filed, unless the spouses
                                                                     are separated and a joint petition is not filed. Do not state the name of any minor child. The average monthly income calculated on this form may differ from the current
                                                                     monthly income calculated on From 22A, 22B, or 22C.
                                                                      Debtor's Marital Status                                                            DEPENDENTS OF DEBTOR AND SPOUSE
                                                                      Single                                      RELATIONSHIP(S):                                                                                             AGE(S):




                                                                      EMPLOYMENT:                                            DEBTOR                                                                      SPOUSE
                                                                      Occupation
                                                                      Name of Employer          Unemployed
                                                                      How long employed
                                                                      Address of Employer



                                                                     INCOME: (Estimate of average or projected monthly income at time case filed)                                                           DEBTOR                            SPOUSE
                                                                     1. Current monthly gross wages, salary, and commissions (prorate if not paid monthly)                                    $                               $
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                                                                     2. Estimated monthly overtime                                                                                            $                               $
                                                                     3. SUBTOTAL                                                                                                              $                       0.00 $
                                                                     4. LESS PAYROLL DEDUCTIONS
                                                                       a. Payroll taxes and Social Security                                                                                   $                               $
                                                                       b. Insurance                                                                                                           $                               $
                                                                       c. Union dues                                                                                                          $                               $
                                                                       d. Other (specify)                                                                                                     $                               $
                                                                                                                                                                                              $                               $
                                                                     5. SUBTOTAL OF PAYROLL DEDUCTIONS                                                                                        $                       0.00 $
                                                                     6. TOTAL NET MONTHLY TAKE HOME PAY                                                                                       $                       0.00 $

                                                                     7. Regular income from operation of business or profession or farm (attach detailed statement) $                                                         $
                                                                     8. Income from real property                                                                   $                                                         $
                                                                     9. Interest and dividends                                                                      $                                                         $
                                                                     10. Alimony, maintenance or support payments payable to the debtor for the debtor’s use or
                                                                     that of dependents listed above                                                                $                                                         $
                                                                     11. Social Security or other government assistance
                                                                       (Specify) Unemployment                                                                       $                                         1,287.00 $
                                                                                                                                                                    $                                                         $
                                                                     12. Pension or retirement income                                                               $                                                         $
                                                                     13. Other monthly income
                                                                       (Specify)                                                                                    $                                                         $
                                                                                                                                                                    $                                                         $
                                                                                                                                                                    $                                                         $

                                                                     14. SUBTOTAL OF LINES 7 THROUGH 13                                                                                       $               1,287.00 $
                                                                     15. AVERAGE MONTHLY INCOME (Add amounts shown on lines 6 and 14)                                                         $               1,287.00 $

                                                                     16. COMBINED AVERAGE MONTHLY INCOME: (Combine column totals from line 15;
                                                                     if there is only one debtor repeat total reported on line 15)                                                                            $                1,287.00
                                                                                                                                                                                              (Report also on Summary of Schedules and, if applicable, on
                                                                                                                                                                                              Statistical Summary of Certain Liabilities and Related Data)

                                                                     17. Describe any increase or decrease in income reasonably anticipated to occur within the year following the filing of this document:
                                                                     None
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                                                                     IN RE Johnson, Bradley Leif                                                                                           Case No.
                                                                                                                               Debtor(s)                                                                               (If known)

                                                                                               SCHEDULE J - CURRENT EXPENDITURES OF INDIVIDUAL DEBTOR(S)
                                                                     Complete this schedule by estimating the average or projected monthly expenses of the debtor and the debtor’s family at time case filed. Prorate any payments made biweekly,
                                                                     quarterly, semi-annually, or annually to show monthly rate. The average monthly expenses calculated on this form may differ from the deductions from income allowed
                                                                     on Form22A or 22C.
                                                                        Check this box if a joint petition is filed and debtor’s spouse maintains a separate household. Complete a separate schedule of
                                                                     expenditures labeled “Spouse.”

                                                                     1. Rent or home mortgage payment (include lot rented for mobile home)                                                                              $              150.00
                                                                         a. Are real estate taxes included? Yes      No ü
                                                                         b. Is property insurance included? Yes      No ü
                                                                     2. Utilities:
                                                                         a. Electricity and heating fuel                                                                                                                $
                                                                         b. Water and sewer                                                                                                                             $
                                                                         c. Telephone                                                                                                                                   $                50.00
                                                                         d. Other Satellite TV                                                                                                                          $                45.00
                                                                                                                                                                                                                        $
                                                                     3. Home maintenance (repairs and upkeep)                                                                                                           $
                                                                     4. Food                                                                                                                                            $              200.00
                                                                     5. Clothing                                                                                                                                        $               50.00
                                                                     6. Laundry and dry cleaning                                                                                                                        $
                                                                     7. Medical and dental expenses                                                                                                                     $
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                                                                     8. Transportation (not including car payments)                                                                                                     $              100.00
                                                                     9. Recreation, clubs and entertainment, newspapers, magazines, etc.                                                                                $
                                                                     10. Charitable contributions                                                                                                                       $
                                                                     11. Insurance (not deducted from wages or included in home mortgage payments)
                                                                         a. Homeowner’s or renter’s                                                                                                                     $
                                                                         b. Life                                                                                                                                        $
                                                                         c. Health                                                                                                                                      $
                                                                         d. Auto                                                                                                                                        $                50.00
                                                                         e. Other                                                                                                                                       $
                                                                                                                                                                                                                        $
                                                                     12. Taxes (not deducted from wages or included in home mortgage payments)
                                                                         (Specify)                                                                                                                                      $
                                                                                                                                                                                                                        $
                                                                     13. Installment payments: (in chapter 11, 12 and 13 cases, do not list payments to be included in the plan)
                                                                         a. Auto                                                                                                                                        $
                                                                         b. Other                                                                                                                                       $
                                                                                                                                                                                                                        $
                                                                     14. Alimony, maintenance, and support paid to others                                                                                               $
                                                                     15. Payments for support of additional dependents not living at your home                                                                          $
                                                                     16. Regular expenses from operation of business, profession, or farm (attach detailed statement)                                                   $
                                                                     17. Other                                                                                                                                          $
                                                                                                                                                                                                                        $
                                                                                                                                                                                                                        $

                                                                     18. AVERAGE MONTHLY EXPENSES (Total lines 1-17. Report also on Summary of Schedules and, if
                                                                     applicable, on the Statistical Summary of Certain Liabilities and Related Data.                                                                    $              645.00


                                                                     19. Describe any increase or decrease in expenditures anticipated to occur within the year following the filing of this document:
                                                                     Beginning May, 2012 payment to Sallie Mae will begin again at $650.00 per month (payments had been deferred)




                                                                     20. STATEMENT OF MONTHLY NET INCOME
                                                                         a. Average monthly income from Line 15 of Schedule I                                                                                           $            1,287.00
                                                                         b. Average monthly expenses from Line 18 above                                                                                                 $              645.00
                                                                         c. Monthly net income (a. minus b.)                                                                                                            $              642.00
